     Case 1:25-cv-10787-WGY           Document 120        Filed 06/16/25     Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 COMMONWEAL TH OF
 MASSACHUSETTS, et al.,

                               Plaintiffs,
                                                             No. 1:25-cv-10814-WGY
        V.

 ROBERT F. KENNEDY, JR. , et al. ,

                               Def endants.


 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al. ,

                               Plaintiffs,

        V.                                                   No. 1:25-cv-10787-WGY

 NATIONAL INSTITUTES OF
 HEAL TH, et al. ,

                               Defendants.


              JOINT M0ffUOf • NQ STIPULATED PROTECTIVE ORDER

       Defendants in the above actions produced certain administrative-record documents (i.e.,

NIH_GRANTS_00000l to NIH_GRANTS_003824) to plaintiffs via secure file-transfer on June

2, 2025, and to the Court via CD-ROM on June 3, 2025. One document within that production,

located at NIH_ GRANTS_003438 through NIH_GRANTS_003444 ("UMN Letter"), contains

information about a nonparty graduate student at the University of Minnesota. The plaintiffs in

No. 25-10814 ("State Plaintiffs"), the plaintiffs in No. 25-10787 ("APHA Plaintiffs"), and the

defendants in both cases ("Federal Defendants") agree that good cause exists to maintain the name,

identifying information, and descriptions of personal and famil y medical information concerning

that student under seal, because said information is confidential, nonpublic information pertaining
     Case 1:25-cv-10787-WGY           Document 120         Filed 06/16/25      Page 2 of 11




to a nonparty. The parties have prepared an agreed-upon redacted version of the UNM Letter that

redacts said confidential, nonpublic information ("Confidential Information").

       Wherefore, the parties stipulate, and hereby move the Court to order, that:

       1.      Unless otherwise ordered by the Court or permitted in writing by plaintiff the State

of Minnesota, the unredacted version of the UMN Letter and the Confidential Information therein

may be disclosed only to (i) attorneys for the State Plaintiffs, APHA Plaintiffs, and Federal

Defendants, (ii) attorneys, legal assistants, and clerical employees working under the supervision

of said attorneys, (iii) the Court and court personnel in the above cases, (iv) any employee of any

third-party service contractors (such as document copy services) involved in organizing, filing,

coding, converting, storing, or retrieving data in the above cases, (v) any other person to whom

disclosure is required by court order or applicable provision of law, provided that, before making

any disclosure under this subparagraph (v), the disclosing party shall notify plaintiff the State of

Minnesota (through its counsel of record in No. 25-10814) at least 10 business days before said

disclosure. The non-disclosure obligations in this paragraph 1 shall survive the termination of the

above cases, i.e., any party maintaining any litigation documents containing the unredacted UMN

Letter or Confidential Information shall do so in accordance with this paragraph 1.

       2.      The non-disclosure obligations in paragraph 1 do not extend to the author or

recipient of the unredacted UMN Letter or other persons who independently possessed or knew

the Confidential Information.

       3.      In filing the administrative record on the public ECF docket in this case, the Federal

Defendants shall file the agreed-upon redacted version of the UMN Letter only. The Federal

Defendants have already provided an unredacted version of the UMN Letter to the Court, which

the Court will maintain under seal.




                                                 2
     Case 1:25-cv-10787-WGY           Document 120        Filed 06/16/25     Page 3 of 11




       4.        Any party making any other filing in this case that references any Confidential

Information shall redact any Confidential Information from the public version of said filing.



                                                     It is so ordered.

June IC , 2025




                                                 3
     Case 1:25-cv-10787-WGY            Document 120      Filed 06/16/25       Page 4 of 11




June 15, 2025                                     Respectfully submitted.

For Plaintiffs in No. 25-cv-10814:                For Defendants:

ANDREA JOY CAMPBELL                               YAAKOV M. ROTH
 Attorney General of Massachusetts                Acting Assistant Attorney General

 Isl Gerard J. Cedrone                            LEAH B. FOLEY
Gerard J. Cedrone                                 United States Attorney
   Deputy State Solicitor
One Ashburton Place, 20th Floor                   KIRK T. MANHARDT
Boston, MA 02108                                  Director
(617) 963-2282
gerard.cedrone@mass.gov                           MICHAEL QUINN
                                                  Senior Litigation Counsel
Counsel for the
 Commonwealth of Massachusetts                    Isl Thomas Ports
                                                  THOMAS PORTS (Va. Bar No. 84321)
KEITH ELLISON                                     Trial Attorney
 Attorney General of Minnesota                    U.S. Department of Justice
                                                  Civil Division
 Isl Pete Farrell                                 Corporate/Financial Section
Peter J. Farrell                                  P.O. Box 875
   Deputy Solicitor General                       Ben Franklin Stations
445 Minnesota Street, Suite 600                   Washington D.C. 20044-0875
St. Paul, Minnesota, 55101                        Tel: (202) 307-1105
(651) 757-1424                                    Email: thomas.ports@usdoj.gov
peter.farrell@ag.state.mn.us
                                                  Isl Anui K. Khetarpal
Counsel for the State of Minnesota                ANUJ K. KHETARP AL
                                                  Assistant United States Attorney
            (continued on next page)              United States Attorney's Office
                                                  1 Courthouse Way, Suite 9200
For Plaintiffs in No. 25-cv-10787:                Boston, MA 02210
                                                  Tel: (617) 823-6325
 Isl Jessie J. Rossman                            Email: anuj .khetarpal@usdoj.gov
Jessie J. Rossman
Suzanne Schlossberg
AMERICAN CIVIL LIBERTIES UNION
   FOUNDATION OF MASSACHUSETTS, INC.
One Center Plaza, Suite 801
Boston, MA 02018
(617) 482-3170
jrossman@aclum.org

             (continued on page 10)



                                              4
    Case 1:25-cv-10787-WGY              Document 120   Filed 06/16/25   Page 5 of 11




For Plaintiffs in No. 25-cv-10814, continued:

ROBBONTA
 Attorney General of California

 Isl Emilio Varanini
Neli Palma
   Senior Assistant Attorney General
Emilio Varanini
Kathleen Boergers
   Supervising Deputy Attorneys General
Nimrod Pitsker Elias
Daniel D. Am bar
Ketakee R. Kane
Sophia TonNu
Hilary Chan
   Deputy Attorneys General
455 Golden Gate A venue
San Francisco, CA 94102
(415) 510-3541
emilio. varanini@doj.ca.gov

Counsel for the State of California

ANTHONY G. BROWN
 Attorney General of Maryland

 Isl James C. Luh
Michael Drezner
James C. Luh
   Senior Assistant Attorneys General
200 Saint Paul Place, 20th Floor
Baltimore, MD 21202
(410) 576-6959
mdrezner@oag.state.md.us

Counsel for the State of Maryland

            (continued on next page)




                                                5
    Case 1:25-cv-10787-WGY             Document 120   Filed 06/16/25   Page 6 of 11




NICHOLAS W. BROWN
 Attorney General of Washington

 Isl Andrew Hughes
Andrew Hughes
Tyler Roberts
  Assistant Attorneys General
800 Fifth Avenue, Suite 2000
Seattle, WA 98104-3188
(206) 464-77 44
andrew.hughes@atg.wa.gov

Counsel for the State of Washington

KRISTIN K. MA YES
 Attorney General ofArizona

 Isl Joshua G. Nomkin
Joshua G. Nomkin
  Assistant Attorney General
2005 N. Central Avenue
Phoenix, AZ 85004
(602) 542-3333
joshua.nomkin@azag.gov

Counsel for the State ofArizona

PHILIP J. WEISER
 Attorney General of Colorado

 Isl Lauren Peach
Shannon Stevenson
   Solicitor General
Lauren Peach
   First Assistant Attorney General
1300 Broadway, 10th Floor
Denver, CO 80203
(720) 508-6000
lauren. peach@coag.gov

Counsel for the State a/Colorado

            (continued on next page)




                                              6
     Case 1:25-cv-10787-WGY            Document 120   Filed 06/16/25   Page 7 of 11




KATHLEEN JENNINGS
 Attorney General of Delaware

 Isl Vanessa L. Kassab
Ian R. Liston
   Director of Impact Litigation
Vanessa L. Kassab
   Deputy Attorney General
820 N. French Street
Wilmington, DE 19801
(302) 683-8899
vanessa.kassab@delaware.gov

Counsel for the State of Delaware

ANNE E. LOPEZ
 Attorney General of Hawai 'i

 Isl Kaliko 'onalani D. Fernandes
David D. Day
   Special Assistant to the Attorney General
Kaliko'onalani D. Fernandes
   Solicitor General
425 Queen Street
Honolulu, HI 96813
(808) 586-1360
kaliko.d.femandes@hawaii.gov

Counsel for the State of Hawai 'i

AARON D. FORD
 Attorney General of Nevada

Isl Heidi Parry Stern
Heidi Parry Stern
  Solicitor General
1 State ofNevada Way, Suite 100
Las Vegas, NV 89119
hstem@ag.nv.gov

Counsel for the State of Nevada

            (continued on next page)




                                               7
    Case 1:25-cv-10787-WGY             Document 120   Filed 06/16/25   Page 8 of 11




MATTHEW J. PLATKIN
 Attorney General of New Jersey

 Isl Nancy Trasande
Nancy Trasande
Bryce Hurst
   Deputy Attorneys General
124 Halsey Street, 5th Floor
Newark, NJ 07101
(609) 954-2368
nancy. trasande@law.njoag.gov

Counsel for the State of New Jersey

RAUL TORREZ
 Attorney General of New Mexico

Isl Astrid Carrete
Astrid Carrete
  Assistant Attorney General
408 Galisteo Street
Santa Fe, NM 87501
(505) 270-4332
acarrete@nrndoj.gov

Counsel for the State of New Mexico

LETITIA JAMES
 Attorney General of New York

 Isl Rabia Muqaddam
Rabia Muqaddam
   Special Counsel for Federal Initiatives
Molly Thomas-Jensen
   Special Counsel
28 Liberty Street
New York, NY 10005
(929) 638-0447
rabia.muqaddam@ag.ny.gov

Counsel for the State of New York

            (continued on next page)




                                               8
     Case 1:25-cv-10787-WGY             Document 120   Filed 06/16/25   Page 9 of 11




DAN RAYFIELD
 Attorney General of Oregon

 Isl Christina L. Beatty-Walters
Christina L. Beatty-Walters
   Senior Assistant Attorney General
100 SW Market Street
Portland, OR 97201
(971) 673-1880
tina. beattywalters@doj.Oregon.gov

Counsel for the State of Oregon

PETER F. NERONHA
 Attorney General of Rhode Island

 Isl Jordan Broadbent
Jordan Broadbent
   Special Assistant Attorney General
150 South Main Street
Providence, RI 02903
(401) 274-4400, Ext. 2060
jbroadbent@riag.ri.gov

Counsel for the State of Rhode Island

JOSHUA L. KAUL
 Attorney General of Wisconsin

 Isl Lynn K. Lodahl
Lynn K. Lodahl
  Assistant Attorney General
17 West Main Street
Post Office Box 7857
Madison, WI 53707
(608) 264-6219
lodahllk@doj .state. wi. us

Counsel for the State of Wisconsin




                                               9
   Case 1:25-cv-10787-WGY          Document 120   Filed 06/16/25   Page 10 of 11




For Plaintiffs in No. 25-cv-10787, continued:

Olga Akselrod
Alexis Agathocleous
Rachel Meeropol
Alejandro Ortiz
AMERICAN CIVIL
  LIBERTIES UNION FOUNDATION
125 Broad Street, 18th Floor
New York, NY 10004
(212) 549-2659
oakselrod@aclu.org

Shalini Goel Agarwal
PROTECT DEMOCRACY PROJECT
2020 Pennsylvania Ave., NW, Ste. 163
Washington, DC 20006
(202) 579-4582
shalini.agarwal@protectdemocracy.org

Michel-Ange Desruisseaux
PROTECT DEMOCRACY PROJECT
82 Nassau Street, #601
New York, NY 10038
michelange.desruisseaux@protectdemocracy.org

Kenneth Parreno
PROTECT DEMOCRACY PROJECT
15 Main Street, Suite 312
Watertown, MA 024 72
kenneth. parreno@protectdemocracy.org

Lisa S. Mankofsky
Oscar Heanue
CENTER FOR SCIENCE IN
  THE PUBLIC INTEREST
1250 I St., NW, Suite 500
Washington, DC 20005
202-777-8381
lmankofsky@cspinet.org

           (continued on next page)
        Case 1:25-cv-10787-WGY     Document 120   Filed 06/16/25   Page 11 of 11


.
    Ilann M. Maazel
    Matthew D. Brinckerhoff
    Max Selver
    Sydney Zazzaro
    EMERY CELLI BRINCKERHOFF
      ABADY WARD & MAAZEL LLP
    One Rockefeller Plaza, 8th Floor
    New York, NY 10020
    (212) 763-5000
    imaazel@ecbawm.com




                                          11
